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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


CHERYL COMPTON, et al.,                      )
                                             )
             Plaintiffs,                     )
                                             )
       vs.                                   )        Case No. 4:11-CV-1975 (CEJ)
                                             )
ST. LOUIS METROPOLITAN POLICE,               )
DEPARTMENT, et al.,                          )
                                             )
             Defendants.                     )



                              ORDER OF DISMISSAL

      In accordance with the Memorandum and Order filed herewith this date,

      IT IS HEREBY ORDERED that this action is dismissed with prejudice as to

all defendants.

      The plaintiffs shall bear the costs.



                                                 ___________________________
                                                 CAROL E. JACKSON
                                                 UNITED STATES DISTRICT JUDGE

Dated this 31st day of December, 2012.
